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Housing Maintenance Code Violations User Guide
Created January 11, 2019
Last Updated December 11, 2019
NYC Department of Housing Preservation and Development


What’s In This Dataset?
Pursuant to New York City’s Housing Maintenance Code, the Department of Housing
Preservation and Development (HPD) issues violations against conditions, in rental
dwelling units and buildings, that have been verified to violate the New York City Housing
Maintenance Code (HMC) or the New York State Multiple Dwelling Law (MDL).
Each row in this dataset contains discrete information about one violation of the New
York City Housing Maintenance Code or New York State Multiple Dwelling Law. Each
violation is identified using a unique Violation ID. These Laws are in place to provide
requirements for the maintenance of residential dwelling units within New York City.
Violations are issued by Housing Inspectors after a physical inspection is conducted
(except for class I violations which are generally administratively issued). Violations
are issued in four classes: Class A (non-hazardous), Class B (hazardous), Class C
(immediately hazardous) and Class I (information orders). For more information on
violations, see https://www1.nyc.gov/site/hpd/owners/compliance-clear-violations.page
The base data for this file is all violations open as of October 1, 2012. Violation data is
updated daily. The daily update includes both new violations and updates to the status
of previously issued violations. An open violation is a violation which is still active on the
Department records. See the status table for determining how to filter for open violations
versus closed violations, and within open violations for a more detailed current status.
The property owner may or may not have corrected the physical condition if the status is
open. The violation status is closed when the violation is observed/verified as corrected
by HPD or as certified by the landlord. The processes for having violations dismissed
are described at http://www1.nyc.gov/site/hpd/owners/compliance-clear-violations.page
Using other HPD datasets, such as the Building File or the Registration File, a user can
link together violations issued for given buildings or for given owners.


Who Manages This Data?
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As a significant area of the agency’s mission, HPD protects the quality and affordability
of our city by rigorously enforcing the New York City Housing Maintenance Code, which
covers heat and hot water, mold, pests, gas leaks, fire safety, and more. Our inspectors
work tirelessly to keep tenants safe and hold building owners accountable, performing
over 500,000 inspections annually.
We proactively use a variety of other enforcement tools to address building conditions,
from performing owner outreach to bringing cases in Housing Court to performing
emergency repairs. Learn more about Property Owner and Landlord Responsibilities on
our website.


Get Started With This Data:
How many violations did HPD issue in Calendar year 2018 in Manhattan?
What types of violations did HPD issue in Calendar year 2018 in Brooklyn?
How many violations that HPD issued are currently open in Staten Island?


Columns (Fields, Attributes):

Violations
Building ID
Registration ID
BoroID
Borough
House Number
Low House Number
High House Number
Street Name
Street Code
Postcode
Apartment
Story
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Block
Lot

Class
Inspection Date
Approved Date
OriginalCertifyByDate
OriginalCorrectByDate
NewCertifyByDate
NewCorrectByDate
CertifiedDate
OrderNumber
NOVID
NOVDescription
NOVIssueDate
CurrentStatusID/CurrentStatus
CurrentStatusDate
NovType
Violation Status
Latitude
Longitude
Community Board
Council District
CensusTract
BIN
BBL
NTA
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Violations
Unique identifier of Violation


Building ID
Unique identifier of building

Registration ID
Unique identifier of valid registration information

BoroID
Borough code

Borough
The borough where the building is located

House Number
The street number in the building's address. E.g.: the house number is '100' in '100 Gold Street'

Low House Number
If there is a range for a building, the lowest house number in the building’s address.

High House Number
If there is a range for a building, the highest house number in the building’s address.

Street Name
The name of the street in the building's address. E.g.: the street name is 'Gold Street' in '100 Gold Street'

Street Code
Geocoded field for a street (CONFIRM WITH HPDTECH)
Postcode
The postcode where the building is located

Apartment
Apartment in violation, if applicable

Story
Floor of violation

Block
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Tax block for building
Lot
Tax lot for building

Class
Indicator of seriousness of the violations, where A is the least serious and C is the most serious. Class I violation are
informational notices that do not have certification periods associated; they indicate something about the status of the
property: that an Order is open against the property (example: Order to Repair/Vacate Order) or that a property is
vacant or that a property is not validly registered.

Inspection Date
Date when the violation was observed

Approved Date
Date when the violation was approved

OriginalCertifyByDate
Original date by which the owner was to inform HPD that the violation was corrected

OriginalCorrectByDate
Original date by which the owner was to correct the violation

NewCertifyByDate
If a postponement is granted, a new certify by date is established

NewCorrectByDate
If a postponement is granted, a new correct by date is established

CertifiedDate
Date when the violation was certified by the owner

OrderNumber
Reference to the abstract description of the violation condition which cites a specific section of the law which is in
violation. See the table below for the definition of each order number referenced in the dataset:




 Order No.      Order Number Description


 965            § 27-2028 ADMIN. CODE: INSTALL CENTRAL HEATING SYSTEM OR, IF LAWFULLY FEASIBLE,
                INDIVIDUAL SPACE HEATERS, AND FILE APPLICATION FOR APPROVAL BEFORE DOING
                WORK

 966            § 27-2029 ADMIN. CODE: PROVIDE AN ADEQUATE SUPPLY OF HEAT FOR THE APARTMENT
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969       § 27-2031 ADMIN. CODE: INSTALL CENTRAL HOT WATER SYSTEM OR, IF FEASIBLE,
          INDIVIDUAL HOT WATER HEATERS, AND FILE AN APPLICATION FOR APPROVAL BEFORE
          DOING WORK

975       § 27-2032, 2034 ADMIN. CODE: DISCONTINUE USE OF ILLEGAL SPACE AND/OR HOT WATER
          HEATER AND PROVIDE FILED FOR & APPROVED HEATER WHICH OBTAINS COMBUSTION
          AIR DIRECTLY FROM OUTSIDE THE BUILDING OR APPROVED CENTRAL SYSTEM

977       § 27-2035 ADMIN. CODE: DISCONTINUE THE USE OF THE ILLEGAL GAS FIRED
          REFRIGERATOR

897       § 27-2026 ADMIN. CODE: REMOVE DISUSED PLUMBING FIXTURES AND PROPERLY SEAL
          PIPE CONNECTIONS

946       § 27-2026 ADMIN. CODE: PROPERLY CLOSE AND SEAL OPENING AS DESCRIBED BELOW6


952       § 27-2027 ADMIN. CODE: REPAIR THE BROKEN OR DEFECTIVE RAIN LEADER


953       § 27-2027 ADMIN. CODE: PROVIDE A GUTTER, PROPERLY CONNECTED TO DRAINAGE
          SYSTEM, FOR PROPER DRAINAGE

958       § 27-2027 ADMIN. CODE: PROPERLY REPAIR THE BROKEN OR DEFECTIVE PAVING


959       § 27-2027 ADMIN. CODE: GRADE WITH PROPER SLOPE TO EXISTING DRAIN AND PAVE
          WITH 4 INCHES OF CONCRETE THE SURFACE

960       § 27-2027 ADMIN. CODE: REGRADE WITH PROPER SLOPE TO EXISTING DRAIN THE
          SURFACE

964       § 27-2028, 2032 ADMIN.CODE: PROVIDE AN ADEQUATE SUPPLY OF HEAT FROM AN
          APPROVED CENTRAL HEATING SYSTEM OR AN APPROVED SYSTEM OF GAS OR
          ELECTRICAL HEATING IN GOOD OPERATING CONDITION FOR THE DWELLING UNIT

866       § 27-2018 ADMIN. CODE: ABATE THE NUISANCE CONSISTING OF VERMIN


867       § 27-2018 ADMIN. CODE: ABATE THE INFESTATION CONSISTING OF RODENTS


871       § 27-2023 ADMIN. CODE: PROVIDE SUFFICIENT,PROPER AND SEPARATE METAL
          RECEPTACLES FOR THE DEPOSIT OF GARBAGE, RUBBISH AND OTHER WASTE MATERIAL
          AND ARRANGE FOR COLLECTION AND DISPOSAL OF SUCH MATERIAL.

872       § 27-2023 ADMIN. CODE: PROVIDE PLACE WITHIN THE BUILDING FOR THE STORAGE OF
          WASTE RECEPTACLES AND DISINFECT SAME REGULARLY.

894       § 27-2026 ADMIN. CODE: REPAIR LEAKY WATER CLOSET FLUSH PIPE CONNECTION
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895       § 27-2026 ADMIN. CODE: REMOVE ALL OBSTRUCTIONS FROM WATER CLOSET


896       § 27-2026 ADMIN. CODE: REPLACE THE BROKEN OR DEFECTIVE


812       § 27-2005 ADMIN. CODE: FIRE ESCAPE DEFECTIVE. REPLACE WITH NEW THE BROKEN,
          DEFECTIVE AND/OR MISSING

813       § 27-2005 ADMIN. CODE: FIRE ESCAPE DEFECTIVE. ADJUST THE DROPLADDER SO THAT IT
          WILL SLIDE EASILY IN THE GUIDE RODS

817       § 27-2005 ADMIN. CODE: FIRE ESCAPE DEFECTIVE. REMOVE AND REPLACE WITH NEW THE
          BROKEN AND DEFECTIVE BRACKET AND LEAVE ALL ANCHORAGES UNCOVERED FOR
          INSPECTION

852       § 27-2010, 2011, 2012 ADMIN. CODE: REMOVE THE ACCUMULATION OF REFUSE AND/OR
          RUBBISH AND MAINTAIN IN A CLEAN CONDITION THE

856       § 27-2013 ADMIN. CODE: PAINT WITH LIGHT COLORED PAINT TO THE SATISFACTION OF
          THIS DEPARTMENT

861       § 27-2014 ADMIN. CODE AND DEPARTMENT RULES AND REGULATIONS: SCRAPE AND
          REMOVE RUST SCALES AND PAINT WITH TWO COATS OF PAINT THE

462       § 212 M/D LAW ARRANGE THE DOOR OR WINDOW SO THAT IT MAY BE READILY OPENED
          AND PROPER ACCESS AFFORDED TO THE BOTTOM OF

464       § 212 M/D LAW PROVIDE A STATIONARY IRON LADDER, EXTENDING FROM THE SILL OF
          THE LOWEST WINDOW TO THE BOTTOM OF

483       § 62 M/D LAW REARRANGE TELEVISION AND/OR RADIO ANTENNA TO BE AT LEAST 10 FEET
          ABOVE ROOF AND NOT ATTACHED TO ANY FIRE ESCAPE OR SOIL OR VENT LINE

491       § 300 M/D LAW FILE PLANS AND APPLICATION AND LEGALIZE THE FOLLOWING
          ALTERATION OR RESTORE TO THE LEGAL CONDITION EXISTING PRIOR TO THE MAKING OF
          SAID ALTERATION

176       § 53,187,231 M/D LAW & DEPT RULES & REG. PROVIDE MEANS OF EGRESS FROM YARD TO
          STREET BY FIREPROOF PASSAGEWAY FOR WHICH APPLICATION MUST BE FILED FOR
          APPROVAL,OR BY UNLOCKED DOOR OR GATE IN FENCE TO ADJOINING PREMISES WITH
          CONSENT OF ADJACENT OWNER.

181       § 53, 187, 231 M/D LAW AND DEPARTMENT RULES AND REGULATIONS. PROVIDE A
          FIREPROOF PASSAGEWAY FROM FIRE ESCAPES AT REAR TO STREET AND FILE
          APPLICATION FOR APPROVAL BEFORE DOING THIS WORK.

188       § 185, 240 M/D LAW PROPERLY FIRE RETARD IN ACCORDANCE WITH THE RULES AND
          REGULATIONS OF THIS DEPARTMENT THE CELLAR CEILING

208       § 66, 67, 104, 147, 188, 233 M/D LAW PROVIDE WITH PROPER HINGES THE SCUTTLE COVER
          AT ROOF.
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209       § 233 M/D LAW REMOVE DOOR FROM CLOSET LEADING TO SCUTTLE OPENING IN ROOF AT


219       § 190 M/D LAW SOLIDLY CLOSE THE SPACE BETWEEN THE TREADS OF INSIDE STAIRS


6         § 36, 66, 67, 178, 217 M/D LAW MAINTAIN PROPER VENTILATION BY REMOVING WRAPPINGS
          AND/OR OBSTRUCTIONS FROM THE LOUVRES OR VENTILATORS OR WINDOWS OR
          SKYLIGHT

30        § 78 M/D LAW PROPERLY PAVE THE FLOOR WITH 4 INCHES OF CONCRETE


57        § 12 M/D LAW DISCONTINUE THE UNLAWFUL KEEPING OF


106       § 53, 187, 231 M/D LAW AND DEPARTMENT RULES AND REGULATIONS. PROVIDE A SHOE
          PROPERLY SECURED TO BOTTOM OF STRING OF DROPLADDER

109       § 53, 187, 231 M/D LAW AND DEPARTMENT RULES AND REGULATIONS. PROVIDE A STOP AT
          TOP OF GUIDE RODS SO AS TO PREVENT REMOVAL OF DROPLADDER

118       § 53, 187, 231 M/D LAW AND DEPARTMENT RULES AND REGULATIONS. PROPERLY BRACE


121       § 53, 187, 231 M/D LAW AND DEPARTMENT RULES AND REGULATIONS. SPLICE WITH
          ADEQUATE SPLICE PLATE

135       § 53, 187, 231 M/D LAW AND DEPARTMENT RULES AND REGULATIONS. CLOSE THE
          UNNECESSARY OPENING

778       § 27-2104 ADM CODE POST AND MAINTAIN A PROPER SIGN ON WALL OF ENTRANCE
          STORY SHOWING THE REGISTRATION NUMBER ASSIGNED BY THE DEPARTMENT AND THE
          ADDRESS OF THE BUILDING.

779       § 27-2105 ADM CODE RENT BILL OR RECEIPT NOT PROVIDED FOR TENANT WITH NAME
          AND ADDRESS OF INDIVIDUAL ACTING AS MANAGING AGENT OR NAME AND ADDRESS OF
          OWNER PRINTED OR STAMPED THEREON

803       § 27-2005 ADMIN. CODE: MAKE SAFE BY PROPERLY REPAIRING THE STRUCTURAL
          DEFECT.

805       § 27-2005 ADMIN. CODE: REPLACE WITH NEW THE BROKEN OR DEFECTIVE


810       § 27-2005 ADMIN. CODE: ABATE THE NUISANCE CONSISTING OF


811       § 27-2005 ADMIN. CODE: REPAIR AND OPERATE THE GAS APPLIANCE SO AS TO PREVENT
          CARBON MONOXIDE
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776       § 27-2100 ADM CODE FILE WITH THIS DEPARTMENT A REGISTRATION STATEMENT WITH A
          PROPER ADDRESS FOR REGISTERED PARTY.

767       § 27-2089 ADM CODE THE PREMISES HAVE BEEN VACATED BY AN ORDER OF THIS
          DEPARTMENT AND CANNOT BE REOCCUPIED EXCEPT FOR CARETAKER UNTIL A NEW
          CERTIFICATE OF OCCUPANCY HAS BEEN OBTAINED.

768       § 27-2089 ADM CODE THE PREMISES FORMERLY A VACANT BUILDING ARE NOW
          OCCUPIED BY OTHER THAN A CARETAKER WITHOUT OBTAINING A CERTIFICATE OF
          OCCUPANCY

769       § 27-2004 ADM CODE DISCONTINUE THE YEAR-ROUND USE OF THESE PREMISES,
          CLASSIFIED FOR SUMMER RESORT OCCUPANCY EXCEPT BY OWNER OR CARETAKER

771       § 27-2096 ADM CODE FILE WITH THIS DEPARTMENT A TRUE REGISTRATION STATEMENT
          FOR BUILDING.

772       § 27-2098 ADM CODE FILE WITH THIS DEPARTMENT A REGISTRATION STATEMENT FOR
          BUILDING.

775       § 27-2099 ADM CODE FILE WITH THIS DEPARTMENT REGISTRATION STATEMENT FOR
          CHANGE OF OWNERSHIP OF BUILDING.

761       § 27-2081 ADM CODE DISCONTINUE USE OF ROOMS FOR LIVING, DISCONNECT PLUMBING
          FIXTURES AND PROPERLY SEAL PIPE CONNECTIONS

736       § 27-2067 ADM CODE PROVIDE UNDER COMPLETED PERMIT SANITARY FACILITIES FOR
          EACH 6 PERSONS OR REMAINDER THEREOF FOR CLASS B ROOMS BY INSTALLING

737       § 27-2067 ADM CODE PROVIDE UNDER COMPLETED PERMIT, WATER CLOSET,
          WASHBASIN, BATHTUB OR SHOWER FOR EACH 6 PERSONS OR REMAINDER THEREOF FOR
          SINGLE ROOM OCCUPANCY APTS. AT

748       § 27-2075 ADM CODE POST A SIGN IN ROOMING UNIT SHOWING MAXIMUM LAWFUL
          OCCUPANCY FOR SLEEPING PURPOSES

750       § 27-2076 ADM CODE DISCONTINUE UNLAWFUL OCCUPANCY FOR LIVING PURPOSES BY
          CHILD OR CHILDREN UNDER 16 YEARS OF AGE

751       § 27-2077 ADM CODE DISCONTINUE THE ROOMING UNIT


734       § 27-2067 ADM CODE PROVIDE AT LEAST ONE WATER CLOSET ON THE SAME FLOOR FOR
          THE ROOMS USED FOR CLASS B OCCUPANCY. WORK MUST BE COMPLETED UNDER
          PERMIT

713       § 27-2050 ADM CODE PROVIDE A PIECE OF GARDEN HOSE 10 FEET IN LENGTH WITH
          FEMALE COUPLING AND A 10 QUART PAIL ON PREMISES TO TEST SPRINKLER SYSTEM.

715       § 27-2050 ADM CODE PROVIDE 3 EXTRA SPRINKLER HEADS AND SUITABLE WRENCH FOR
          EMERGENCY PURPOSES AT O.S.Y. VALVE OF SPRINKLER IN ACCORDANCE WITH THE
          RULES AND REGULATIONS OF THIS DEPARTMENT
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716       § 27-2051 ADM CODE PROVIDE A MANAGER WHO SHALL BE RESPONSIBLE FOR THE
          CONDUCT, OPERATION AND MAINTENANCE OF PREMISES AND WHO SHALL LIVE ON
          PREMISES OR BE REGULARLY PRESENT THEREIN.

721       § 27-2053 ADM CODE PROVIDE DWELLING WITH A JANITOR OR RESPONSIBLE PERSON OR
          JANITORIAL SERVICE.

724       § 27-2055 ADM CODE FILE WITH THIS DEPARTMENT A CERTIFICATION THAT THE PERSON
          DOING JANITORIAL SERVICES IS COMPETENT TO PERFORM SAME.

733       § 27-2065 ADM CODE PROVIDE VENTILATION FOR WATER CLOSET COMPARTMENT
          AND/OR BATHROOM AND FILE APPLICATION FOR APPROVAL BEFORE DOING WORK

712       § 27-2050 ADM CODE PROVIDE AN ANGLE HOSE VALVE OR SILL COCK AT EXTREME END
          OF HIGHEST LINE OF SPRINKLERS.

696       § 27-2044 ADM CODE PROPERLY FIRE-RETARD, IN ACCORDANCE WITH THE RULES AND
          REGULATIONS OF THIS DEPARTMENT, THE CEILING

701       § 27-2045, 2046 ADM CODE PROVIDE AN APPROVED AND OPERATIONAL SMOKE
          DETECTING DEVICE, INSTALLED IN ACCORDANCE WITH DEPARTMENT OF BUILDINGS
          RULES AND REGULATIONS

702       § 27-2045 ADM CODE REPAIR OR REPLACE THE SMOKE DETECTOR


703       § 27-2045, 2046 ADM CODE FILE CERTIFICATION OF SATISFACTORY INSTALLATION OF
          SMOKE DETECTING DEVICE IN ACCORDANCE WITH H.P.D. RULES AND REGULATIONS.

707       § 27-2047 ADM CODE PROVIDE AND MAINTAIN APPROVED MAIL RECEPTACLES AND
          DIRECTORIES FOR THE PERSONS RESIDING IN THE DWELLING AS PROVIDED IN THE U.S.
          POSTAL REGULATIONS.

693       § 27-2044 ADM CODE ARRANGE AND MAKE SELF-CLOSING THE DOORS


670       § 27-2031 ADM CODE PROVIDE HOT WATER AT ALL HOT WATER FIXTURES


672       § 27-2033 ADM CODE PROVIDE READY ACCESS TO BUILDINGS HEATING SYSTEM


680       § 27-2037, 2039 ADM CODE PROVIDE ADEQUATE LIGHTING FOR THE LAUNDRY ROOM


687       § 27-2040 ADM CODE INSTALL AND MAINTAIN SUFFICIENT LIGHT OR LIGHTS OF AT LEAST
          100 WATTS INCANDESCENT OR EQUIVALENT EACH, TO LIGHT ADEQUATELY FROM SUNSET
          TO SUNRISE THE

690       § 27-2041 ADM CODE PROVIDE A PEEP HOLE IN ENTRANCE DOOR OF THE DWELLING UNIT
          SO LOCATED SO AS TO PERMIT A PERSON INSIDE THE DWELLING TO VIEW ANY PERSON
          OUTSIDE ENTRANCE DOOR
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692       § 27-2043 ADM CODE PROVIDE A LOCK AND KEY TO THE ENTRANCE DOOR OF DWELLING
          UNIT AND, IF A CL A MULTIPLE DWELLING, ALSO

668       § 27-2028 ADM CODE REPAIR AND OPERATE THE HEATING APPLIANCE SO AS TO PREVENT
          COAL GAS

596       § 27-2026 ADM CODE REPLACE THE BROKEN OR DEFECTIVE


646       § 27-2026 ADM CODE PROPERLY CLOSE AND SEAL OPENING AS DESCRIBED BELOW


652       § 27-2027 ADM CODE REPAIR THE BROKEN OR DEFECTIVE RAIN LEADER


653       § 27-2027 ADM CODE PROVIDE A GUTTER, PROPERLY CONNECTED TO DRAINAGE
          SYSTEM, FOR PROPER DRAINAGE

654       § 27-2027 ADM CODE REPAIR THE BROKEN OR DEFECTIVE GUTTER


655       § 27-2027 ADM CODE READJUST AND GRADE WITH A PROPER SLOPE TOWARD THE RAIN
          LEADER, THE GUTTER

657       § 27-2005 ADM CODE REMOVE THE BROKEN OR DEFECTIVE FLOORING AND PAVE THE
          FLOOR WITH 4 INCHES OF CONCRETE

591       § 27-2026 ADM CODE RESET, SO AS TO SECURE A PROPER AND TIGHT CONNECTION, THE
          WATER CLOSET BOWL

659       § 27-2027 ADM CODE GRADE WITH PROPER SLOPE TO EXISTING DRAIN AND PAVE WITH 4
          INCHES OF CONCRETE THE SURFACE

564       § 27-2081 ADM CODE THOROUGHLY WHITEWASH OR PAINT WITH A LIGHT COLOR THE
          SURFACES

572       § 27-2021 ADM CODE PROVIDE PLACE WITHIN THE BUILDING FOR THE STORAGE OF
          WASTE RECEPTACLES AND DISINFECT SAME REGULARLY.

573       § 27-2022 ADM CODE POST A SIGN INDICATING HOURS OF COLLECTION AND METHOD OF
          COLLECTION OF WASTE MATERIAL WHERE DUMBWAITER SERVICE IS NOT PROVIDED.

577       § 27-2024 ADM CODE PROVIDE ADEQUATE SUPPLY OF HOT WATER FOR THE FIXTURES


579       § 27-2026 ADM CODE REPAIR THE LEAKY AND/OR DEFECTIVE FAUCETS


563       § 27-2015 ADM CODE THOROUGHLY WHITEWASH OR PAINT WITH A LIGHT COLOR THE
          SURFACES
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580       § 27-2024 ADM CODE PROVIDE SUITABLE TIGHT COVER MADE OF METAL OR WOOD
          COVERED WITH METAL FOR WATER SUPPLY TANK ON ROOF.

581       § 27-2024 ADM CODE EMPTY AND THOROUGHLY CLEANSE THE INTERIOR SIDES AND
          BOTTOM OF WATER SUPPLY TANK ON ROOF.

559       § 27-2013 ADM CODE NO DECORATING IN 3 YEARS. REMOVE THE DIRTY AND/OR LOOSE
          PAPER AND REPAPER OR PAINT TO THE SATISFACTION OF THIS DEPARTMENT

560       § 27-2013 ADM CODE MAINTAIN AND KEEP ON PREMISES SUCH RECORDS RELATING TO
          TIME WHEN WINDOW FRAMES AND SASHES AND DWELLING UNITS WERE LAST PAINTED.

561       § 27-2014 ADM CODE AND DEPT. RULES AND REGULATIONS. SCRAPE AND REMOVE RUST
          SCALES AND PAINT WITH 2 COATS OF PAINT

562       § 27-2014 ADM CODE PAINT TO THE SATISFACTION OF THIS DEPARTMENT THE EXTERIOR
          WINDOW FRAMES AND SASHES

557       § 27-2013 ADM CODE REMOVE THE DIRTY AND/OR LOOSE PAPER AND REPAPER OR PAINT
          TO THE SATISFACTION OF THIS DEPARTMENT

528       § 27-2005 ADM CODE REPLACE WITH STANDARD WIRE GLASS THE PRESENT GLASS


534       § 27-2005 ADM CODE PROVIDE A PROPER SEAT FOR WATER CLOSET


535       § 27-2005 ADM CODE REMOVE THE TORN AND/OR LOOSE FLOOR COVERING


537       § 27-2005, 2007 ADM CODE REMOVE UNLAWFUL WOOD OR METAL LOUVRED OR SCREEN
          DOORS AND ASSEMBLIES FROM ENTRANCE TO

552       § 27-2010, 2011, 2012 ADM CODE REMOVE THE ACCUMULATION OF REFUSE AND/OR
          RUBBISH AND MAINTAIN IN A CLEAN CONDITION THE

526       § 27-2005, 2007 ADM CODE REMOVE THE ILLEGAL FASTENING


556       § 27-2013 ADM CODE PAINT WITH LIGHT COLORED PAINT TO THE SATISFACTION OF THIS
          DEPARTMENT

516       § 27-2005 ADM CODE FIRE ESCAPE DEFECTIVE. RESET THE BRACES OF THE BRACKETS
          SO THAT THEY SHALL BEAR AGAINST WALL

517       § 27-2005 ADM CODE FIRE ESCAPE DEFECTIVE. REMOVE AND REPLACE WITH NEW THE
          BROKEN AND DEFECTIVE BRACKET AND LEAVE ALL ANCHORAGES UNCOVERED FOR
          INSPECTION

518       § 27-2005 ADM CODE FIRE ESCAPE DEFECTIVE. REPLACE WITH 2 X 1/2 INCH IRON BAR
          EXTENDING ACROSS AND SECURED TO 2 BRACKETS, THE BROKEN OR DEFECTIVE ANGLE
          IRON OR BAR AT FOOT OF GOOSENECK LADDER
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519        § 27-2005 ADM CODE FIRE ESCAPE DEFECTIVE. REMOVE OR MAKE SAFE THE ADDITIONAL
           FIRE ESCAPES

522        § 27-2005, 2007 ADM CODE FIRE EGRESS DEFECTIVE. REMOVE OBSTRUCTING BARS OR
           UNLAWFUL GATES FROM AT LEAST 1 WINDOW OR PROVIDE APPROVED TYPE GATE

525        § 27-2005, 2007 ADM CODE FIRE EGRESS DEFECTIVE. MAKE STATIONARY THE IRON
           LADDER LEADING TO SCUTTLE OPENING IN ROOF

515        § 27-2005 ADM CODE FIRE ESCAPE DEFECTIVE. FILL IN HOLES IN WALL AROUND
           BRACKETS AND/OR RAILS

214        § 189, SUBD. 5 M/D LAW REMOVE SASH IN PARTITION BETWEEN ROOM AND PUBLIC HALL
           AND SEAL OPENING WITH MATERIAL SIMILAR TO ADJACENT WALL

222        § 242 M/D LAW PROVIDE UNDER COMPLETED PERMIT,A PROPER ENCLOSURE WITH
           FIREPROOF SELFCLOSING DOORS AND ASSEMBLIES,AT THE TOP AND THE BOTTOM OF
           THE CELLAR STAIRS,

225        § 51 M/D LAW PROVIDE UNDER COMPLETED PERMIT, A PROPER ENCLOSURE FOR THE
           ELEVATOR SHAFT,

226        § 65 M/D LAW PROVIDE UNDER COMPLETED PERMIT, A PROPER ENCLOSURE FOR THE
           CENTRAL HEATING PLANT,

230        § 192 M/D LAW PROVIDE AN INDEPENDENT ENTRANCE FROM OUTSIDE THE DWELLING TO
           CELLAR AND FILE APPLICATION FOR APPROVAL BEFORE DOING THE WORK

509        § 27-2005 ADM CODE PROPERLY SECURE THE LOOSE


213        § 61 M/D LAW SEAL WITH FIRE RETARDING MATERIAL OR PROVIDE WITH FIREPROOF
           SELF-CLOSING DOOR AND ASSEMBLY THE OPENING LEADING FROM STORE TO PUBLIC
           HALL

81         § 187 M/D LAW PROVIDE A SPRINKLER SYSTEM OR A LEGAL SECOND MEANS OF EGRESS
           AND FILE APPLICATION FOR APPROVAL BEFORE DOING THIS WORK

081B       § 194 M/D LAW PROVIDE SPRINKLER HEADS IN ALL CLASS B ROOMS AND FILE
           APPLICATION FOR APPROVAL BEFORE DOING THIS WORK

84         § 67 M/D LAW POST A PRINTED SCALE FLOOR PLAN SHOWING MEANS OF EGRESS, AT


142        § 53, 187, 231 M/D LAW AND DEPARTMENT RULES AND REGULATIONS. BRACE AND
           SUPPORT BALCONY WITH SUITABLE TIE RODS OR SUSPENSION RODS

159        § 53, 187, 231 M/D LAW AND DEPARTMENT RULES AND REGULATIONS. SAFEGUARD
           EGRESS BY PROVIDING IRON GUARD RAILS 3 FT 6 IN HIGH AROUND SKYLIGHT

80         § 231 M/D LAW PROVIDE LEGAL SECOND MEANS OF EGRESS AND FILE APPLICATION FOR
           APPROVAL BEFORE DOING THE WORK
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10        § 178, 217 M/D LAW PROVIDE SKYLIGHT VENTILATION OF AT LEAST 40 SQ.IN. OR FIXED OR
          MOVABLE LOUVRES, OR MOVABLE SASH

11        § 178, 217 M/D LAW MAKE EFFECTIVE THE LIGHT AND VENTILATION OF SKYLIGHT BY
          REMOVING FROM BENEATH SAME THE DOMELIGHT LOCATED IN CEILING

51        § 12 M/D LAW DISCONTINUE THE STORAGE OF COMBUSTIBLE MATERIAL


65        § 66 M/D LAW DISCONTINUE THE UNLAWFUL USE AS A LODGING HOUSE UNLESS AND
          UNTIL A CERTIFICATE OF OCCUPANCY IS OBTAINED FOR SUCH USE.

69        § 61 M/D LAW DISCONTINUE USE UNLESS AND UNTIL AN APPROVED APPLICATION IS
          FILED AND A CERTIFICATE OF OCCUPANCY IS OBTAINED

72        § 61 M/D LAW DISCONTINUE THE MANUFACTURING BUSINESS


8         § 178, 217 M/D LAW PROVIDE A VENTILATING SKYLIGHT DIRECTLY OVER THE STAIRWELL


982       § 27-2038 ADMIN CODE: PROVIDE ADEQUATE LIGHTING FOR


7         § 178, 217 M/D LAW PROVIDE FIXED VENTILATION OF AT LEAST 40 SQ.IN. DIRECTLY OVER
          STAIRWELL

754       § 27-2078 ADM CODE DISCONTINUE THE UNLAWFUL USE AS SEPARATELY OCCUPIED
          SLEEPING ROOMS OR, PROVIDE UNOBSTRUCTED ACCESS TO EACH REQUIRED MEANS OF
          EGRESS

555       § 27-2013 ADM CODE REMOVE OR COVER IN A MANNER APPROVED BY THE DEPARTMENT
          THE PEELING LEAD PAINT

686       § 27-2040 ADM CODE PROVIDE ADEQUATE LIGHTING AT OR NEAR THE OUTSIDE OF THE
          FRONT ENTRANCEWAY OF THE BUILDING AND KEEP SAME BURNING FROM SUNSET
          EVERY DAY TO SUNRISE ON THE DAY FOLLOWING

976       § 27-2032, 2034 ADMIN. CODE: EITHER DISCONTINUE USE OF ILLEGAL SPACE AND/OR HOT
          WATER HEATER OR PROVIDE FILED FOR & APPROVED HEATER WHICH OBTAINS
          COMBUSTION AIR DIRECTLY FROM OUTSIDE THE BUILDING OR APPROVED CENTRAL
          SYSTEM

949       § 27-2026 ADMIN. CODE: REMOVE ALL OBSTRUCTIONS AND REPAIR ALL DEFECTS IN


950       § 27-2027 ADMIN. CODE: PROVIDE PROPERLY TRAPPED, SEWER CONNECTED, RAIN
          LEADER SO AS TO PROVIDE PROPER DRAINAGE AND FILE AN APPLICATION FOR
          APPROVAL BEFORE DOING THE WORK

954       § 27-2027 ADMIN. CODE: REPAIR THE BROKEN OR DEFECTIVE GUTTER
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955       § 27-2027 ADMIN. CODE: READJUST AND GRADE WITH A PROPER SLOPE TOWARD THE
          RAIN LEADER THE GUTTER

948       § 27-2026 ADMIN. CODE: PROPERLY REAM OUT, TAP AND PLUG, WITH SCREW PLUGS, THE
          HOLES IN

970       § 27-2031 ADMIN. CODE: PROVIDE HOT WATER AT ALL HOT WATER FIXTURES


892       § 27-2026 ADMIN. CODE: REPLACE WITH NEW THE DEFECTIVE FLUSH PIPE OF WATER
          CLOSET

893       § 27-2026 ADMIN. CODE: REPAIR THE FLUSHING APPARATUS AND MAINTAIN SAME SO AS
          TO FLUSH EFFECTIVELY THE WATER CLOSET

898       § 27-2026 ADMIN. CODE: REPAIR THE BROKEN OR DEFECTIVE CONNECTION


899       § 27-2026 ADMIN. CODE: REPAIR BY CLOSING SO AS TO BE GAS TIGHT ALL OPENINGS IN
          THE

900       § 27-2026 ADMIN. CODE: PROVIDE A PROPER SCREW CAP FOR THE CLEANOUT OF TRAP


891       § 27-2026 ADMIN. CODE: RESET, SO AS TO SECURE A PROPER AND TIGHT CONNECTION,
          THE WATER CLOSET BOWL

947       § 27-2026 ADMIN. CODE: PROPERLY CLOSE AND SEAL THE HUB OPENING AFTER
          REMOVING THE DISUSED, BROKEN OR DEFECTIVE

862       § 27-2014 ADMIN. CODE: PAINT TO THE SATISFACTION OF THIS DEPARTMENT THE
          EXTERIOR WINDOW FRAMES AND SASHES

876       § 27-2024 ADMIN. CODE: PROVIDE ADEQUATE SUPPLY OF COLD WATER FOR THE
          FIXTURES

877       § 27-2024 ADMIN. CODE: PROVIDE ADEQUATE SUPPLY OF HOT WATER FOR THE FIXTURES


878       § 27-2026 ADMIN. CODE: REPAIR THE LEAKY AND/OR DEFECTIVE WATER SUPPLY PIPE


879       § 27-2026 ADMIN. CODE: REPAIR THE LEAKY AND/OR DEFECTIVE FAUCETS


888       § 27-2026 ADMIN. CODE: PROVIDE SUITABLE STRAINER FOR THE DRAIN


889       § 27-2026 ADMIN. CODE: PROVIDE SUITABLE TIGHT COVER FOR HANDHOLE OPENING OF
          TRAP
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857       § 27-2013 ADMIN. CODE: REMOVE THE DIRTY AND/OR LOOSE PAPER AND REPAPER OR
          PAINT TO THE SATISFACTION OF THIS DEPARTMENT

834       § 27-2005 ADMIN. CODE: PROVIDE A PROPER SEAT FOR WATER CLOSET


835       § 27-2005 ADMIN. CODE: REMOVE THE TORN AND/OR LOOSE FLOOR COVERING


838       § 27-2005, 2007 ADMIN. CODE: REMOVE ALL ENCUMBRANCES CONSISTING OF


839       § 27-2005,2007 ADMIN. CODE AND DEPARTMENT RULES AND REGULATIONS: REMOVE THE
          ENCUMBRANCE OBSTRUCTING EGRESS FROM FIRE ESCAPES

851       § 27-2010,2011,2012 ADMIN. CODE: CLEANSE AND DISINFECT TO THE SATISFACTION OF
          THIS DEPARTMENT AFTER REMOVING THE

853       § 27-2010, 2011, 2012 ADMIN CODE: CLEANSE TO THE SATISFACTION OF THIS
          DEPARTMENT THE

829       § 27-2005 ADMIN. CODE: REFIT


819       § 27-2005 ADMIN. CODE: FIRE ESCAPE DEFECTIVE. REMOVE OR MAKE SAFE THE
          ADDITIONAL FIRE ESCAPES

820       § 27-2005 ADMIN. CODE: FIRE ESCAPE DEFECTIVE. REMOVE THE ADDITIONAL,
          DANGEROUS, INADEQUATE FIRE ESCAPE

821       § 27-2005,2007 ADMIN. CODE: FIRE EGRESS DEFECTIVE. REMOVE OBSTRUCTING BARS OR
          GATES FROM WINDOW TO FIRE ESCAPE

822       § 27-2005,2007 ADMON. CODE: FIRE EGRESS DEFECTIVE. REMOVE OBSTRUCTING BARS
          OR GATES FROM AT LEAST 1 WINDOW.

826       § 27-2005 ADMIN. CODE: REMOVE THE ILLEGAL FASTENING


818       § 27-2005 ADMIN. CODE: FIRE ESCAPE DEFECTIVE. REPLACE WITH 2" X1/2" IRON BAR
          EXTENDING ACROSS AND SECURED TO TWO BRACKETS, THE BROKEN OR DEFECTIVE
          ANGLE IRON OR BAR AT FOOT OF GOOSENECK LADDER

806       § 27-2005 ADMIN. CODE: REPLACE WITH NEW THE MISSING


807       § 27-2005 ADMIN. CODE: REPAIR THE ROOF SO THAT IT WILL NOT LEAK


808       § 27-2005 ADMIN. CODE: REPAIR THE BROKEN OR DEFECTIVE PLASTERED SURFACES AND
          PAINT IN UNIFORM COLOR
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809       § 27-2005 ADMIN. CODE: PROPERLY SECURE THE LOOSE


814       § 27-2005 ADMIN. CODE: FIRE ESCAPE DEFECTIVE. PROPERLY SECURE


815       § 27-2005 ADMIN. CODE: FIRE ESCAPE DEFECTIVE. FILL IN HOLES IN WALL AROUND
          BRACKETS AND/OR RAILS

804       § 27-2005 ADMIN. CODE: PROVIDE


816       § 27-2005 ADMIN. CODE: FIRE ESCAPR DEFECTIVE. RESET THE BRACES OF THE
          BRACKETS SO THAT THEY SHALL BE AGAINST WALL

766       § 27-2089 ADM CODE ABOVE PREMISES HAVE BEEN VACANT AND UNTENANTED EXCEPT
          FOR CARETAKER FOR 60 DAYS OR MORE, AND CANNOT BE REOCCUPIED UNTIL A NEW
          CERTIFICATE OF OCCUPANCY HAS BEEN OBTAINED. PREMISES HAVE BEEN VACANT
          SINCE

773       § 27-2098 ADM CODE FILE WITH THIS DEPARTMENT A TELEPHONE NUMBER AT WHICH THE
          OWNER OR A RESPONSIBLE PERSON CAN BE REACHED AT ALL HOURS IN THE EVENT OF
          AN EMERGENCY.

774       § 27-2101 ADM CODE FILE WITH THIS DEPARTMENT A WRITTEN DESIGNATION FOR
          CHANGE IN MANAGING AGENT OF BUILDING.

777       § 27-2102 ADM CODE FILE WITH THIS DEPARTMENT A REGISTRATION STATEMENT FOR
          LESSEE.

765       § 27-2142 ADM CODE APTS HAVE BEEN VACATED BY THIS DEPARTMENT AND CANNOT BE
          REOCCUPIED UNTIL SO ORDERED AFTER PROOF OF COMPLIANCE FOR APTS

801       § 27-2005 ADMIN. CODE: PROPERLY REPAIR THE BROKEN OR DEFECTIVE


802       § 27-2005 ADMIN. CODE: PROPERLY REPAIR WITH SIMILAR MATERIAL THE BROKEN OR
          DEFECTIVE

753       § 27-2077, 2078 ADM CODE DISCONTINUE UNLAWFUL USE FOR SINGLE ROOM
          OCCUPANCY PURPOSES

756       § 27-2080 ADM CODE PROVIDE TENANT REGISTER ON PREMISES PURSUANT TO RULES
          AND REGULATIONS OF THIS DEPARTMENT.

762       § 27-2081 ADM CODE DISCONTINUE USE OF ROOMS FOR LIVING PURPOSES


764       § 27-2081 ADM CODE DISCONTINUE USE FOR LIVING
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752       § 27-2078 ADM CODE DISCONTINUE USE FOR SINGLE ROOM OCCUPANCY PURPOSES THE
          APARTMENTS WHICH ARE OCCUPIED BY MORE THAN 2 BOARDERS, ROOMERS OR
          LODGERS

741       § 27-2070 ADM CODE DISCONTINUE UNLAWFUL COOKING SPACE OR FILE PLANS AND
          APPLICATION WITH THIS DEPARTMENT TO LEGALIZE SAME, IF LAWFULLY FEASIBLE,

742       § 27-2070 ADM CODE PROVIDE AN ADEQUATE SUPPLY OF GAS TO THE FIXTURES


745       § 27-2074 ADM CODE DISCONTINUE USE OF ROOMS LESS THAN 6 FEET WIDE FOR LIVING


746       § 27-2075 ADM CODE DISCONTINUE UNLAWFUL OVERCROWDING


749       § 27-2076 ADM CODE DISCONTUNUE UNLAWFUL USE OF KITCHEN FOR SLEEPING
          PURPOSES

739       § 27-2068 ADM CODE PROVIDE ADDITIONAL WATER CLOSET AND WASH BASIN SO THERE
          SHALL BE NOT LESS THAN 1 WATER CLOSET AND WASH BASIN FOR EVERY 7 SLEEPING
          ROOMS AND FILE AN APPLICATION FOR APPROVAL BEFORE DOING THIS WORK.

727       § 27-2061 ADM CODE DISCONTINUE USE OF INTERIOR ROOM FOR LIVING


731       § 27-2064 ADM CODE PROVIDE PROPER PLASTERED PARTITIONS EXTENDING FROM
          FLOOR TO CEILING FOR WATER CLOSET COMPARTMENT AND/OR BATHROOM

732       § 27-2064 ADM CODE PROVIDE IN ACCORDANCE WITH THE RULES AND REGULATIONS OF
          THIS DEPARTMENT A WATERPROOF FLOOR AND BASE FOR THE WATER CLOSET

735       § 27-2067 ADM CODE PROVIDE A WATER CLOSET, WASH BASIN, BATHTUB OR SHOWER
          FOR EACH SIX PERSONS OR REMAINDER THEREOF FOR ANY ROOM USED FOR CLASS B
          OCCUPANCY. WORK MUST BE COMPLETED UNDER PERMIT.

738       § 27-2067 ADM CODE PROVIDE UNDER COMPLETED PERMIT, SANITARY FACILITIES FOR
          EACH 6 PERSONS OR REMAINDER THEREOF FOR SINGLE ROOM OCCUPANCY APT., BY
          INSTALLING

726       § 27-2059 ADM CODE DISCONTINUE USE OF INTERIOR ROOM FOR LIVING OR PROVIDE AN
          ALCOVE OPENING OF AT LEAST 32# SQ FT TO ROOM HAVING A WINDOW OPENING
          DIRECTLY TO STREET OR YARD

706       § 27-2047 ADM CODE ARRANGE FOR MAIL TO BE DELIVERED TO OWNER, HIS AGENT OR
          EMPLOYEES FOR PROMPT DISTRIBUTION TO OCCUPANTS.

708       § 27-2048 ADM CODE PAINT OR POST A SIGN INDICATING FLOORS


709       § 27-2049 ADM CODE POST AND MAINTAIN A STREET NUMBER ON THE FRONT OF THE
          DWELLING PLAINLY VISIBLE FROM THE SIDEWALK.
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710       § 27-2050 ADM CODE FILE WITH THE BOROUGH CHIEF INSPECTOR OF THIS DEPARTMENT
          A SPRINKLER TEST REPORT FOR THE CURRENT YEAR.

704       § 27-2045, 2046 ADM CODE MAINTAIN ON THE PREMISES AND MAKE AVAILABLE TO THE
          DEPARTMENT UPON REQUEST RECORDS OF INSTALLATION AND MAINTENANCE OF
          SMOKE DETECTORS IN THE BUILDING.

711       § 27-2050 ADM CODE MAINTAIN ON THE PREMISES A COPY OF THE SPRINKLER TEST FOR
          THE CURRENT YEAR.

714       § 27-2050 ADM CODE SEAL IN OPEN POSITION THE O.S.Y. VALVE OF THE SPRINKLER
          SYSTEM IN ACCORDANCE WITH THE RULES AND REGULATIONS OF THIS DEPARTMENT

722       § 27-2053 ADM CODE POST SIGN ON WALL OF ENTRANCE STORY BEARING NAME,
          ADDRESS INCLUDING APARTMENT NUMBER IF ANY, AND TELEPHONE NUMBER OF
          SUPERINTENDENT, JANITOR OR HOUSEKEEPER.

695       § 27-2044 ADM CODE REMOVE UNLAWFUL SASH IN PARTITION SEPARATING APARTMENT
          FROM PUBLIC HALL AND SEAL OPENING WITH FIRE RETARDED MATERIAL

697       § 27-2005, 2044 ADM CODE PROVIDE APPROVED ONE-HOUR FIRE RESISTANCE RATED
          SELF-CLOSING DOOR WITH KEY-OPERATED DEAD BOLT & LATCH SET, PEEP HOLE & CHAIN
          GUARD AT MAIN ENTRANCE TO

698       § 27-2044 ADM CODE PROVIDE APPROVED ONE-HOUR FIRE RESISTANCE RATED SELF-
          CLOSING DOOR AT ALL OPENINGS TO PUBLIC HALL OTHER THAN APT MAIN ENTRANCE
          DOOR FROM

699       § 27-2044 ADM CODE PROVIDE SEAL OF ONE-HOUR FIRE RETARDING MATERIAL FOR
          TRANSOMS OVER ALL DOOR OPENINGS TO PUBLIC HALL FROM

700       § 27-2045 ADM CODE POST A PROPER NOTICE OF SMOKE DETECTOR REQUIREMENTS, IN
          A FORM APPROVED BY THE COMMISSIONER, AT OR NEAR THE MAIL BOX

677       § 27-2035 ADM CODE DISCONTINUE THE USE OF THE GAS FIRED REFRIGERATOR


678       § 27-2036 ADM CODE MAINTAIN ON THE REEMISES A SELF INSPECTION REPORT OF EACH
          GAS FUELED SPACE HEATER AND EACH GAS APPLIANCE FOR THE CURRENT YEAR. SUCH
          REPORT SHALL BE SUBMITTED TO THE DEPARTMENT UPON REQUEST.

681       § 27-2037 ADM CODE PROVIDE A PROPER MEANS OF LIGHTING FOR WATER CLOSET
          COMPARTMENT

683       § 27-2039 ADM CODE PROVIDE ADEQUATE LIGHT OF NOT LESS THAN 60 WATTS
          INCANDESCENT OR EQUIVALENT ILLUMINATION

684       § 27-2037 ADM CODE PROVIDE ADEQUATE LIGHTING


685       § 27-2039 ADM CODE PROVIDE AND MAINTAIN A LIGHT DIRECTLY OVER THE MAIL BOXES
          IN PUBLIC HALL
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691       § 27-2042 ADM CODE PROVIDE A MIRROR IN SELF-SERVICE ELEVATOR ARRANGED SO AS
          TO ENABLE A PERSON ENTERING, TO VIEW INSIDE OF ELEVATOR NUMBER

694       § 27-2044 ADM CODE REPLACE WITH WIRE GLASS THE PRESENT GLASS IN DOORS
          AND/OR TRANSOMS

669       § 27-2031 ADM CODE INSTALL CENTRAL HOT WATER SYSTEM OR, IF FEASIBLE,
          INDIVIDUAL HOT WATER HEATERS, AND FILE AN APPLICATION FOR APPROVAL BEFORE
          DOING WORK

671       § 27-2033 ADM CODE POST NOTICE, IN FORM APPROVED BY THE DEPARTMENT, STATING
          THE NAME AND LOCATION OF THE PERSON DESIGNATED BY THE OWNER TO HAVE KEY TO
          BUILDINGS HEATING SYSTEM

673       § 27-2030 ADM CODE REPAIR AND OPERATE THE APPLIANCE SO AS TO PREVENT
          CARBON MONOXIDE

674       § 27-2029 ADM CODE DEVICE PRESENT ON CENTRAL HEATING SYSTEM WHICH IS
          CAPABLE OF CAUSING AN OTHERWISE OPERABLE SYSTEM TO BECOME INOPERABLE

675       § 27-2032, 2034 ADM CODE DISCONTINUE USE OF ILLEGAL SPACE AND/OR HOT WATER
          HEATER AND PROVIDE FILED FOR & APPROVED HEATER WHICH OBTAINS COMBUSTION
          AIR DIRECTLY FROM OUTSIDE THE BUILDING OR APPROVED CENTRAL SYSTEM

649       § 27-2026 ADM CODE REMOVE ALL OBSTRUCTIONS AND REPAIR ALL DEFECTS IN


650       § 27-2027 ADM CODE PROVIDE PROPERLY TRAPPED, SEWER CONNECTED, RAIN LEADER
          SO AS TO PROVIDE PROPER DRAINAGE AND FILE AN APPLICATION FOR APPROVAL
          BEFORE DOING THE WORK

658       § 27-2005 ADM CODE PROPERLY REPAIR THE BROKEN OR DEFECTIVE PAVING


660       § 27-2027 ADM CODE REGRADE WITH THE PROPER SLOPE TO EXISTING DRAIN THE
          SURFACE

664       § 27-2028, 2032 ADM CODE PROVIDE AN ADEQUATE SUPPLY OF HEAT FROM AN
          APPROVED CENTRAL HEATING SYSTEM, OR AN APPROVED SYSTEM OF GAS OR
          ELECTRICAL HEATING IN GOOD OPERATING CONDITION FOR THE DWELLING UNIT

665       § 27-2028 ADM CODE INSTALL CENTRAL HEATING SYSTEM OR, IF LAWFULLY FEASIBLE,
          INDIVIDUAL SPACE HEATERS, AND FILE AN APPLICATION FOR APPROVAL BEFORE DOING
          WORK

666       § 27-2029 ADM CODE PROVIDE AN ADEQUATE SUPPLY OF HEAT FOR THE APARTMENT


593       § 27-2026 ADM CODE REPAIR THE FLUSHING APPARATUS AND MAINTAIN SAME SO AS TO
          FLUSH EFFECTIVELY THE WATER CLOSET
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594       § 27-2026 ADM CODE REPAIR LEAKY WATER CLOSET FLUSH PIPE CONNECTION


595       § 27-2026 ADM CODE REMOVE ALL OBSTRUCTIONS FROM WATER CLOSET


597       § 27-2026 ADM CODE REMOVE DISUSED PLUMBING FIXTURES AND PROPERLY SEAL PIPE
          CONNECTIONS

598       § 27-2026 ADM CODE REPAIR THE BROKEN OR DEFECTIVE CONNECTION


599       § 27-2026 ADM CODE REPAIR BY CLOSING SO AS TO BE GAS TIGHT ALL OPENINGS IN THE


600       § 27-2026 ADM CODE PROVIDE A PROPER SCREW CAP FOR THE CLEANOUT OF TRAP


647       § 27-2026 ADM CODE PROPERLY CLOSE AND SEAL THE HUB OPENING AFTER REMOVING
          THE DISUSED, BROKEN OR DEFECTIVE

648       § 27-2026 ADM CODE PROPERLY REAM OUT, TAP AND PLUG, WITH SCREW PLUGS, THE
          HOLES IN

578       § 27-2026 ADM CODE REPAIR THE LEAKY AND/OR DEFECTIVE WATER SUPPLY PIPE


582       § 27-2024 ADM CODE PROVIDE A BALL COCK FOR THE WATER SUPPLY TANK ON ROOF.


586       § 27-2026 ADM CODE PROVIDE A SEPARATE HOUSE SEWER AND HOUSE DRAIN
          PROPERLY CONNECTED TO PLUMBING SYSTEM OF THE BUILDING AND TO MAIN SEWER
          AND FILE AN APPLICATION FOR APPROVAL BEFORE DOING THIS WORK.

587       § 27-2026 ADM CODE REMOVE CESSPOOL AND ALL SEWAGE SATURATED EARTH,
          DISINFECT SITE AND FILL WITH FRESH EARTH. CONNECT PLUMBING SYSTEM OF BUILDING
          TO MAIN SEWER BY INSTALLING HOUSE SEWER AND DRAIN. FILE APPLICATION FOR
          APPROVAL BEFORE DOING WORK.

588       § 27-2026 ADM CODE PROVIDE A SUITABLE STRAINER FOR THE DRAIN


589       § 27-2026 ADM CODE PROVIDE SUITABLE TIGHT COVER FOR THE HANDHOLE OPENING OF
          TRAP

590       § 27-2066 ADM CODE PROVIDE A WATER CLOSET FOR EACH FAMILY WITHIN THE BUILDING
          AND FILE AN APPLICATION FOR APPROVAL BEFORE DOING THIS WORK

592       § 27-2026 ADM CODE REPLACE WITH NEW THE DEFECTIVE FLUSH PIPE OF WATER
          CLOSET
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554       § 27-2005 ADM CODE PAINT METAL IN ACCORDANCE WITH DEPT. REGULATION


558       § 27-2013 ADM CODE NO DECORATING IN 3 YEARS. PAINT WITH LIGHT COLORED PAINT TO
          THE SATISFACTION OF THIS DEPARTMENT

565       § 27-2015 ADM CODE THOROUGHLY CLEANSE TO THE SATISFACTION OF THIS
          DEPARTMENT THE DIRTY AND UNSANITARY EXTERIOR WALLS AT

566       § 27-2018 ADM CODE ABATE THE NUISANCE CONSISTING OF VERMIN


567       § 27-2018 ADM CODE ABATE THE INFESTATION CONSISTING OF RODENTS


571       § 27-2021 ADM CODE PROVIDE SUFFICIENT, PROPER AND SEPARATE METAL
          RECEPTACLES FOR THE DEPOSIT OF GARBAGE, RUBBISH AND OTHER WASTE MATERIAL
          AND ARRANGE FOR COLLECTION AND DISPOSAL OF SUCH MATERIAL.

576       § 27-2024 ADM CODE PROVIDE ADEQUATE SUPPLY OF COLD WATER FOR THE FIXTURES


533       § 27-2005 ADM CODE REMOVE ILLEGAL FASTENINGS FROM GRATING DOOR TO OUTSIDE
          CELLAR ENTRANCE

536       § 27-2005, 2007 ADM CODE REMOVE DEVICE PREVENTING DOOR FROM BEING SELF-
          CLOSING

538       § 27-2005, 2007 ADM CODE REMOVE ALL ENCUMBRANCES CONSISTING OF


539       § 27-2005, 2007 ADM CODE AND DEPT. RULES AND REGULATIONS. REMOVE THE
          ENCUMBRANCE OBSTRUCTING EGRESS FROM FIRE ESCAPES

540       § 27-848 ADMIN CODE & DEPT. RULES AND REGS. REPLACE REFUSE CHUTE WARNING
          SIGN PUBLIC HALL DOOR TO SERVICE CLOSET OR ON WALL OVER HOPPER DOOR AT

551       § 27-2010, 2011, 2012 ADM CODE CLEANSE AND DISINFECT TO THE SATISFACTION OF THIS
          DEPARTMENT AFTER REMOVING THE

553       § 27-2011 ADM CODE CLEANSE TO THE SATISFACTION OF THIS DEPARTMENT THE


520       § 27-2005 ADM CODE FIRE ESCAPE DEFECTIVE. REMOVE THE ADDITIONAL, DANGEROUS,
          INADEQUATE FIRE ESCAPE

521       § 27-2005, 2007 ADM CODE FIRE EGRESS DEFECTIVE. REMOVE OBSTRUCTING BARS OR
          UNLAWFUL GATES FROM WINDOW TO FIRE ESCAPE OR PROVIDE APPROVED TYPE GATE

523       § 27-2005, 2007 ADM CODE FIRE EGRESS DEFECTIVE. RESTORE EGRESS BY REMOVING
          LOCKING DEVICE AND ARRANGE TO OPEN READILY THE GATE IN FENCE AT LOT LINE
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527       § 27-2005, 2007 ADM CODE EGRESS OBSTRUCTED. PROVIDE PROPER MEANS OF EGRESS
          BY REMOVING PARTITIONS FORMING CLOSET ENCLOSING SCUTTLE LADDER TO ROOF

529       § 27-2005 ADM CODE REFIT


530       § 27-2005, 2007 ADM CODE ARRANGE AND MAKE SELF-CLOSING THE DOORS


531       § 27-2005 ADM CODE MAKE STATIONARY THE TRANSOM OVER DOOR


532       § 27-2005 ADM CODE PROVIDE A STATIONARY IRON LADDER OR FIREPROOF STAIR FOR
          THE OUTSIDE CELLAR ENTRANCE

506       § 27-2005 ADM CODE REPLACE WITH NEW THE MISSING


507       § 27-2005 ADM CODE REPAIR THE ROOF SO THAT IT WILL NOT LEAK


508       § 27-2005 ADM CODE REPAIR THE BROKEN OR DEFECTIVE PLASTERED SURFACES AND
          PAINT IN A UNIFORM COLOR

510       § 27-2005 ADM CODE & 309 M/D LAW ABATE THE NUISANCE CONSISTING OF


511       § 27-2005 ADM CODE REPAIR AND OPERATE THE GAS APPLIANCE SO AS TO PREVENT
          CARBON MONOXIDE

512       § 27-2005 ADM CODE FIRE ESCAPE DEFECTIVE. REPLACE WITH NEW THE BROKEN,
          DEFECTIVE AND/OR MISSING

513       § 27-2005 ADM CODE FIRE ESCAPE DEFECTIVE. ADJUST THE DROPLADDER SO THAT IT
          WILL SLIDE EASILY IN THE GUIDE RODS

514       § 27-2005 ADM CODE FIRE ESCAPE DEFECTIVE. PROPERLY SECURE


494       § 4, 8, 25, 67 M/D LAW THE PREMISES IS CLASSIFIED AS A MULTIPLE DWELLING AND IS
          BEING MAINTAINED IN VIOLATION OF THE ABOVE SECTIONS. FILE AN ALTERATION
          APPLICATION AND PLANS 1/8 INCH SCALE AND OBTAIN A CERTIFICATE OF OCCUPANCY TO
          LEGALIZE SUCH USE.

495       § 300, 301, 302, M/D LAW FILE PLANS AND OBTAIN A CERTIFICATE OF OCCUPANCY TO
          LEGALIZE THE FOLLOWING ALTERATION OR RESTORE PREMISES TO PRIOR LEGAL
          CONDITION

501       § 27-2005 ADM CODE PROPERLY REPAIR THE BROKEN OR DEFECTIVE
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502       § 27-2005 ADM CODE PROPERLY REPAIR WITH SIMILAR MATERIAL THE BROKEN OR
          DEFECTIVE

503       § 27-2005 ADM CODE MAKE SAFE BY PROPERLY REPAIRING THE STRUCTURAL DEFECT


504       § 27-2005 ADM CODE PROVIDE


505       § 27-2005 ADM CODE REPLACE WITH NEW THE BROKEN OR DEFECTIVE


981       § 27-2037 ADMIN. CODE: PROVIDE PROPER MEANS OF LIGHTING FOR WATER CLOSET
          COMPARTMENT

990       § 27-2041 ADMIN. CODE: PROVIDE A PEEP HOLE IN ENTRANCE DOOR OF THE DWELLING
          UNIT SO LOCATED AS TO PERMIT A PERSON INSIDE THE DWELLING UNIT TO VIEW ANY
          PERSON OUTSIDE ENTRANCE DOOR

992       § 27-2043 ADMIN. CODE: PROVIDE A LOCK AND KEY TO THE ENTRANCE DOOR OF
          DWELLING UNIT

4         § 213, SUBD. 5 M/D LAW DISCONTINUE USE OF INTERIOR ROOM FOR LIVING OR PROVIDE
          A SINGLE OPENING OF AT LEAST 60 PERCENT OF AREA OF THE PARTITION TO ROOM
          HAVING WINDOW OPENING DIRECTLY TO STREET OR YARD

160       § 62, 187, 231 M/D LAW AND DEPT. RULES AND REGS. SAFEGUARD EGRESS BY PROVIDING
          IRON GUARD RAILS OR PARAPET WALLS 3 FT 6 IN HIGH AND EXTENDING A MINIMUM OF 4
          FT 0 IN BEYOND EITHER SIDE OF BULKHEAD/SCUTTLE OPENING AT ROOF

484       § 329, M/D LAW AND DEPT. RULES AND REGS. PROVIDE A COMPLETED CERTIFICATE OF
          INSPECTION VISITS IN A PROPER FRAME AT OR NEAR MAILBOXES, BOTTOM EDGE OF
          FRAME BETWEEN 48-62 INCHES ABOVE FLOOR

485       § 329, M/D LAW AND DEPT. RULES AND REGS. PROVIDE A COMPLETED CERTIFICATE OF
          INSPECTION VISITS IN A PROPER FRAME READILY ACCESSIBLE FOR SIGNATURE, BOTTOM
          EDGE OF FRAME BETWEEN 48-62 INCHES ABOVE FLOOR AT

524       § 27-2005, 2007 ADM CODE FIRE EGRESS DEFECTIVE. REMOVE THE OBSTRUCTION IN
          FIREPROOF PASSAGEWAY

682       § 27-2038 ADM CODE PROVIDE ADEQUATE LIGHTING FOR


755       § 27-2079 ADM CODE DISCONTINUE THE USE OF THE PREMISES FOR SINGLE ROOM
          OCCUPANCY

999


606       § 27-2056.5 ADM CODE - CORRECT THE LEAD-BASED PAINT HAZARD - PAINT THAT TESTED
          POSITIVE FOR LEAD CONTENT AND THAT IS PEELING OR ON A DETERIORATED
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           SUBSURFACE - USING EXCLUSIVE INTERIM CONTROLS.


612        § 27-2056.5 ADM CODE - CORRECT THE LEAD-BASED PAINT HAZARD - PRESUMED LEAD
           PAINT THAT IS ON A DETERIORATED SUBSURFACE THAT IS UNSTABLE OR UNSOUND
           USING EXCLUSIVE INTERIM CONTROLS.

611        § 27-2056.5 ADM CODE - CORRECT THE LEAD-BASED PAINT HAZARD - PRESUMED LEAD
           PAINT THAT IS PEELING OR ON A DETERIORATED SUBSURFACE ON WOOD TRIM, DOORS,
           OR WINDOWS - USING EXCLUSIVE INTERIM CONTROLS, WHICH INCLUDE A SURFACE
           DUST TEST IN ACCORDANCE WITH STATUTE.

610        § 27-2056.5 ADM CODE - CORRECT THE LEAD-BASED PAINT HAZARD - PRESUMED LEAD
           PAINT THAT IS PEELING OR IS ON A DETERIORATED SUBSURFACE - USING EXCLUSIVE
           INTERIM CONTROLS.

607        § 27-2056.5 ADM CODE - CORRECT THE LEAD-BASED PAINT HAZARD - PAINT THAT TESTED
           POSITIVE FOR LEAD CONTENT AND THAT IS PEELING OR IS ON A DETERIORATED
           SUBSURFACE ON WOOD TRIM, DOORS, OR WINDOWS - USING EXCLUSIVE INTERIM
           CONTROLS, WHICH INCLUDE A SURFACE DUST TEST IN ACCORDANCE WITH STATUTE.

614        § 27-2056.8 ADM CODE - CERTIFY COMPLIANCE WITH LEAD-BASED PAINT HAZARD
           CONTROL REQUIREMENTS DURING PERIOD OF UNIT VACANCY - APARTMENT _____.

1009       § 27-2049 ADM CODE - POST AND MAINTAIN A STREET NUMBER ON THE FRONT OF THE
           DWELLING PLAINLY VISIBLE FROM THE SIDEWALK

1000       § 27-2045 ADM CODE - POST A PROPER NOTICE OF SMOKE DETECTOR REQUIREMENTS, IN
           A FORM APPROVED BY THE COMMISSIONER , AT OR NEAR THE MAILBOX

1001       § 27-2045 ADM CODE - PROVIDE AN APPROVED AND OPERATIONAL SMOKE DETECTING
           DEVICE, INSTALLED IN ACCORDANCE WITH DEPARTMENT OF BUILDINGS RULES AND
           REGULATIONS

1002       § 27-2044 ADM CODE - REPAIR OR REPLACE SMOKE DETECTOR


1003       § 27-2045 ADM CODE - FILE CERTIFICATION OF SATISFACTORY INSTALLATION OF SMOKE
           DETECTING DEVICE IN ACCORDANCE WITH HPD RULES AND REGULATIONS

1026       § 27-2062 ADM CODE - DISCONTINUE USE OF INTERIOR ROOM FOR LIVING OR PROVIDE AN
           ALCOVE OPENING OF AT LEAST 32 1/2 SQ.FT. TO ROOM HAVING A WINDOW OPENING
           DIRECTLY TO STREET OR YARD

1027       § 27-2062 ADM CODE - DISCONTINUE USE OF INTERIOR ROOM FOR LIVING


1028       § 27-2062 ADM CODE - DISCONTINUE THE USE OF THE INTERIOR ROOM FOR LIVING OR
           PROVIDE AN ALCOVE OPENING OF 60 SQ.FT. TO A ROOM HAVING A WINDOW OPENING
           DIRECTLY TO STREET OR YARD
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1030       § 27-2069 ADM CODE - PROVIDE UNDER COMPLETED PERMIT, A WATER CLOSET, WASH
           BASIN AND BATH OR SHOWER ON THE SAME STORY FOR APARTMENT

1031       § 27-2064 ADM CODE - PROVIDE PROPER PLASTERED PARTITIONS EXTENDING FROM
           FLOOR TO CEILING FOR WATER CLOSET COMPARTMENT AND/ OR BATHROOM

1032       § 27-2064 ADM CODE - PROVIDE IN ACCORDANCE WITH THE RULES AND REGULATIONS OF
           THIS DEPARTMENT A WATERPROOF FLOOR AND BASE FOR THE WATER CLOSET

1033       § 27-2065 ADM CODE - PROVIDE VENTILATION FOR WATER CLOSET COMPARTMENT AND/
           OR BATHROOM AND FILE APPLICATION FOR APPROVAL BEFORE DOING WORK

1041       § 27-2073 ADM CODE - DISCONTINUE UNLAWFUL COOKING SPACE OR FILE PLANS AND
           APPLICATION WITH THIS DEPARTMENT TO LEGALIZE SAME, IF LAWFULLY FEASIBLE

1042       § 27-2073 ADM CODE - PROVIDE AN ADEQUATE SUPPLY OF GAS TO THE FIXTURES


1046       § 27-2075 ADM CODE - DISCONTINUE UNLAWFUL OVERCROWDING


1049       § 27-2076 ADM CODE - DISCONTINUE UNLAWFUL USE OF KITCHEN FOR SLEEPING
           PURPOSES

1051       § 27-2077 ADM CODE - DISCONTINUE THE ROOMING UNIT


1054       § 27-2078-ADM CODE - DISCONTINUE THE UNLAWFUL OCCUPANCY BY MORE THAN TWO
           ROOMERS, BOARDERS OR LODGERS

1061       § 27-2087 ADM CODE - DISCONTINUE USE OF ROOMS FOR LIVING, DISCONNECT PLUMBING
           FIXTURES WHERE ILLEGAL AND PROPERLY SEAL PIPE CONNECTIONS

1062       § 27-2087 ADM CODE - DISCONTINUE USE OF ROOMS FOR LIVING PURPOSES OR OBTAIN A
           CERTIFICATE OF OCCUPANCY

1067       § 27-2142 ADM CODE - THE PREMISES OR APTS. HAVE BEEN VACATED BY THE
           DEPARTMENT AND CANNOT BE REOCCUPIED UNTIL SO ORDERED AFTER PROOF OF
           COMPLIANCE FOR

1068       § 27-2142 ADM CODE - THE PREMISES VACATED BY THIS DEPARTMENT, HAVE BEEN
           REOCCUPIED WITHOUT OBTAINING REQUIRED APPROVAL

1071       § 27-2096 ADM CODE - FILE WITH THIS DEPARTMENT A TRUE REGISTRATION STATEMENT
           FOR BUILDING

1072       § 27-2098 ADM CODE - FILE WITH THIS DEPARTMENT A REGISTRATION STATEMENT FOR
           BUILDING

1074       § 27-2098 ADM CODE - FILE WITH THIS DEPARTMENT A WRITTEN DESIGNATION OF
           MANAGING AGENT OF BUILDING
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1075       § 27-2099 ADM CODE - FILE WITH THIS DEPARTMENT A REGISTRATION STATEMENT FOR
           CHANGE OF OWNERSHIP OF BUILDING

1076       § 27-2100 ADM CODE - FILE WITH THIS DEPARTMENT A REGISTRATION STATEMENT WITH
           A PROPER ADDRESS FOR REGISTERED PARTY

1079       § 27-2105 ADM CODE - RENT BILL OR RECIEPT NOT PROVIDED FOR TENANT WITH NAME
           AND ADDRESS OF INDIVIDUAL ACTING AS MANAGING AGENT OR NAME AND ADDRESS OF
           OWNER PRINTED OR STAMPED THEREON

1492       § 9, 170, 171, 300, 301, 302 M.D.LAW-FILE PLANS AND APPLICATION AND OBTAIN A
           CERTIFICATE OF OCCUPANCY TO LEGALIZE THE CONVERSION FROM A PRIVATE
           DWELLING TO MULTIPLE DWELLING USE IF LAWFULLY FEASIBLE OR RESTORE TO LAWFUL
           OCCUPANCY

1493       § 9, 56, 193, 300, 302 M.D. LAW- ABOVE FRAME BUILDING HAS BEEN CONVERTED FROM A
           PRIVATE DWELLING TO A MULTIPLE DWELLING AND IS NOW OCCUPIED AND MAINTAINED
           AS SUCH CONTRARY TO LAW.RESTORE PREMISES TO LAWFUL OCCUPANCY

759        § 27-2091 HMC, § 302 MDL : APARTMENTS HAVE BEEN ISSUED A COMMISSIONER'S ORDER
           AND OCCUPANTS ARE IN NEED OF RELOCATION SERVICES. APARTMENTS CANNOT BE RE-
           OCCUPIED UNTIL THE COMMISSIONER'S ORDER IS REVOKED AFTER HPD INSPECTION OF
           APARTMENTS.

760        § 27-2091 HMC, § 302 MDL: THE PREMISES HAVE BEEN ISSUED A COMMISSIONER'S ORDER
           AND OCCUPANTS ARE IN NEED OF RELOCATION SERVICES. APARTMENTS CANNOT BE
           REOCCUPIED UNTIL THE COMMISSIONER'S ORDER IS REVOKED AFTER HPD INSPECTION
           OF APARTMENTS.

616        § 27-2056.6 ADM CODE - CORRECT THE LEAD-BASED PAINT HAZARD - PRESUMED LEAD
           PAINT THAT IS PEELING OR ON A DETERIORATED SUBSURFACE USING WORK PRACTICES
           SET FORTH IN 28 RCNY §11-06(B)(2)

617        § 27-2056.6 ADM CODE - CORRECT THE LEAD-BASED PAINT HAZARD - PAINT THAT TESTED
           POSITIVE FOR LEAD CONTENT AND THAT IS PEELING OR ON A DETERIORATED
           SUBSURFACE - USING WORK PRACTICES SET FORTH IN 28 RCNY §11-06(B)(2)

618        § 27-2056.7 ADM CODE -CORRECT FAILURE TO PROVIDE TO THE DEPARTMENT WITHIN 45
           DAYS OF DEMAND ALL RECORDS REQUIRED TO BE MAINTAINED BY OWNER

550        § 27-2005 HMC:TRACE AND REPAIR THE SOURCE AND ABATE THE NUISANCE CONSISTING
           OF MOLD ...

1501       § 27-2046.1 HMC: POST A PROPER NOTICE OF CARBON MONOXIDE DETECTING DEVICE
           REQUIREMENTS, IN A FORM APPROVED BY THE COMMISSIONER, IN A COMMON AREA OF A
           CLASS A MULTIPLE DWELLING NEAR INSPECTION CERTIFICATE OR PROVIDE NOTICE TO
           TENANTS IN A PRIVATE DWELLING.

1502       § 27-2046.1, 2046.2 HMC: PROVIDE AN APPROVED AND OPERATIONAL CARBON MONOXIDE
           DETECTING DEVICE, INSTALLED IN ACCORDANCE WITH APPLICABLE LAW AND RULES.
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1503       § 27-2046.1 HMC: REPAIR OR REPLACE THE CARBON MONOXIDE DETECTING DEVICE(S).


1504       § 27-2046.1, 2046.2 HMC: FILE CERTIFICATION OF SATISFACTORY INSTALLATION OF
           CARBON MONOXIDE DETECTING DEVICE(S) IN ACCORDANCE WITH HPD RULE.

1505       § 27-2046.1, 2046.2 HMC: MAINTAIN ON THE PREMISES AND MAKE AVAILABLE TO THE
           DEPARTMENT UPON REQUEST RECORDS OF INSTALLATION AND MAINTENANCE OF
           CARBON MONOXIDE DETECTING DEVICE(S) IN THE BUILDING.

729        §27-2153 ADM CODE THE PREMISES HAS BEEN SELECTED TO PARTICIPATE IN THE
           ALTERNATIVE ENFORCEMENT PROGRAM WHICH MAY RESULT IN BUILDING-WIDE
           INSPECTIONS, FEES, AND EXTENSIVE REPAIR WORK TO CORRECT VIOLATIONS AND
           UNDERLYING CONDITIONS. CHARGES FOR REPAIR WORK DONE PURSUANT TO THIS
           ORDER, IF NOT PAID, WILL BECOME LIENS ON THE PROPERTY

568        § 27-2018 ADMIN. CODE: ABATE THE INFESTATION CONSISTING OF ROACHES


569        § 27-2018 ADMIN. CODE: ABATE THE INFESTATION CONSISTING OF MICE


570        § 27-2018 ADMIN. CODE: ABATE THE NUISANCE CONSISTING OF BEDBUGS


868        § 27-2018 ADMIN. CODE: ABATE THE INFESTATION CONSISTING OF ROACHES


869        § 27-2018 ADMIN. CODE: ABATE THE INFESTATION CONSISTING OF MICE


870        § 27-2018 ADMIN. CODE: ABATE THE NUISANCE CONSISTING OF BEDBUGS


790        § 27-2043.1 HMC INSTALL THE MISSING OR REPAIR/REPLACE THE DEFECTIVE WINDOW
           GUARD(S) IN ACCORDANCE WITH THE SPECIFICATIONS OF THE NEW YORK CITY HEALTH
           CODE SECTION 24 RCNY CHAPTER 12.

791        § 27-2043.1 HMC INSTALL THE MISSING OR REPAIR/REPLACE THE DEFECTIVE WINDOW
           GUARD(S) THROUGHOUT THE PUBLIC AREAS IN ACCORDANCE WITH THE SPECIFICATIONS
           OF THE NEW YORK CITY HEALTH CODE SECTION 24 RCNY CHAPTER 12.

583        § 27-2026, 2027 HMC: PROPERLY REPAIR THE SOURCE AND ABATE THE EVIDENCE OF A
           WATER LEAK

883        § 27-2026, 2027 HMC: PROPERLY REPAIR THE SOURCE AND ABATE THE EVIDENCE OF A
           WATER LEAK

688        § 27-2037, 2038 HMC: PROVIDE A SAFE AND ADEQUATE SUPPLY OF ELECTRIC SERVICE TO
           THE FIXTURES
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988        § 27-2037, 2038 HMC: PROVIDE A SAFE AND ADEQUATE SUPPLY OF ELECTRIC SERVICE TO
           THE FIXTURES

689        § 27-2005, 2006, 2037 HMC: PROPERLY REPAIR AND ABATE UNSAFE ELECTRIC WIRING
           CONDITION CONSISTING OF

989        § 27-2005, 2006, 2037 HMC: PROPERLY REPAIR AND ABATE UNSAFE ELECTRIC WIRING
           CONDITION CONSISTING OF

717        § 27-2005, 2050 HMC: PROVIDE AN ADEQUATE SUPPLY OF WATER FOR THE WET
           SPRINKLER AND/OR STANDPIPE SYSTEM AT

1017       § 27-2005, 2050 HMC: PROVIDE AN ADEQUATE SUPPLY OF WATER FOR THE WET
           SPRINKLER AND/OR STANDPIPE SYSTEM AT

730        § 27-2091(C) ADM CODE THE PROPERTY HAS BEEN ISSUED AN ORDER TO IDENTIFY AND
           ADDRESS UNDERLYING CONDITIONS AND VIOLATIONS RELATED TO THE ORDER. FAILURE
           TO COMPLY MAY RESULT IN EXTENSIVE REPAIR WORK TO CORRECT UNDERLYING
           CONDITIONS AND RELATED VIOLATIONS BY HPD. CHARGES FOR REPAIR WORK DONE
           PURSUANT TO THIS ORDER, IF NOT PAID, WILL BECOME TAX LIENS ON THE PROPERTY

780        §27-2107 ADM CODE OWNER FAILED TO FILE A VALID REGISTRATION STATEMENT WITH
           THE DEPARTMENT AS REQUIRED BY ADM CODE §27-2097 AND IS THEREFORE SUBJECT TO
           CIVIL PENALTIES, PROHIBITED FROM CERTIFYING VIOLATIONS, AND DENIED THE RIGHT
           TO RECOVER POSSESSION OF PREMISES FOR NONPAYMENT OF RENT UNTIL A VALID
           REGISTRATION STATEMENT IS FILED.

500        § 26-1103 ADMIN. CODE: POST AND MAINTAIN A PROPER NOTICE ON WALL OF THE
           ENTRANCE STORY IN ENGLISH AND SPANISH ON THE AVAILABILITY OF THE AGENCY’S
           HOUSING INFORMATION GUIDE. A SAMPLE NOTICE CAN BE FOUND AT
           WWW.NYC.GOV/HPD.

546        § 27-2005, 2007 HMC: REMOVE THE ILLEGAL DOUBLE CYLINDER KEY OPERATED LOCKING
           DEVICE AT DOOR

846        § 27-2005, 2007 HMC: REMOVE THE ILLEGAL DOUBLE CYLINDER KEY OPERATED LOCKING
           DEVICE AT DOOR

549        § 27-2005, 2012 HMC & § 309 MDL: ABATE THE NUISANCE CONSISTING OF EXCESSIVE
           STORAGE OF MATERIAL

849        § 27-2005, 2012 HMC & § 309 MDL: ABATE THE NUISANCE CONSISTING OF EXCESSIVE
           STORAGE OF MATERIAL

728        §27-2153 ADM CODE POST AND MAINTAIN A NOTICE, WRITTEN IN ENGLISH AND IN
           SPANISH, ON THE BUILDING ENTRANCE DOOR OR OTHER CONSPICUOUS LOCATION IN
           THE BUILDING COMMON AREA, STATING THAT: (1) THE BUILDING IS IN THE ALTERNATIVE
           ENFORCEMENT PROGRAM, (2) THAT OCCUPANTS MAY CALL 311 OR THE AEP AT 212-863-
           8262 TO REPORT HOUSING MAINTENANCE COMPLAINTS, (3) THE NAME, TELEPHONE, AND
           ADDRESS OF THE OWNER, AND, (4) THE IDENTITY OF ANY FINANCIAL INSTITUTION THAT
           HOLDS A MORTGAGE ON THE PROPERTY. POST
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 1506           § 27-2005 HMC: POST, IN A FORM APPROVED BY THE COMMISSIONER, AND MAINTAIN A
                NOTICE IN A COMMON AREA OF THE BUILDING REGARDING THE PROCEDURES THAT
                SHOULD BE FOLLOWED WHEN A GAS LEAK IS SUSPECTED

 630            (C) 27-2142(A) HMC: THE FOLLOWING DWELLING UNITS WERE REOCCUPIED WHILE BEING
                SUBJECT TO AN ORDER TO REPAIR/VACATE ORDER ISSUED BY THE DEPARTMENT;
                ORDER CONDITIONS OBSERVED EXISTING.

 631            (B) 27-2142(A) HMC: THE FOLLOWING DWELLING UNITS WERE REOCCUPIED WHILE BEING
                SUBJECT TO AN ORDER TO REPAIR/VACATE ORDER ISSUED BY THE DEPARTMENT; FILE
                FOR A DISMISSAL REQUEST RELATED TO THE ISSUED ORDER (SEE WWW.NYC.GOV/HPD).

 632            (B) 27-2141(C) HMC: ORDER TO REPAIR/VACATE ORDER MUST REMAIN POSTED UNTIL
                SUCH TIME AS THE ORDER IS RESCINDED. A COPY FOR POSTING CAN BE FOUND
                THROUGH HPDONLINE (WWW.NYC.GOV/HPD).

 744            § 27-2046.4 HMC: PROVIDE CONTROL KNOB SAFETY COVERS FOR THE GAS STOVE.




NOVID
Unique identifier of the Notice of Violation sent to the owner

NOVDescription
Description of the violation

NOVIssueDate
Date when the NOV was sent

CurrentStatusID, CurrentStatus
Violation status, see the table below for details:

                                                                                                        OPEN OR
                                                                                                        CLOSED?
  SeqNo       ShortName           LongName                 Definition

                                                                                                        OPEN



                                                           The violation is active and still requires
                                                           action from the owner or the violation has
                                                           been properly certified and is pending the
                                                           statutory period for reinspection or
         1    OPEN                VIOLATION OPEN           dismissal.
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                                                                               OPEN
                                 The Notice of Violation was sent to the
                                 registered owner or "Owner of the
2   NOV SENT     NOV SENT OUT    Premises".

                                                                               OPEN


                 NOV CERTIFIED   The violation was certified as corrected
3   NOV CERT     ON TIME         by the Owner on time and properly.

                                                                               OPEN


                                 The violation was certified as corrected
                                 by the Owner but was not submitted to
                 NOV CERTIFIED   HPD in a timely manner. Therefore, the
4   NOV LATE     LATE            certification was not acceptable.

                                                                               OPEN



                                 The property owner applied to HPD to
                                 extend the correction date for the
                                 violation, and HPD granted the request.
                 CERTIFICATION   The new correction and certification date
    POSTP        POSTPONMENT     is in the columns NEW CORRECT BY
6   GRANT        GRANTED         DATE and NEW CERT BY DATE.

                                                                               OPEN



                                 The property owner applied to HPD to
                                 extend the correction date for the
                 CERTIFICATION   violation, and HPD denied the request.
    POSTP        POSTPONMENT     The condition must be corrected by the
7   DENIED       DENIED          original correction date.

                                                                               OPEN



                                 The violation was certified as corrected
                                 by the Owner on time and properly. A
                                 subsequent re-inspection of the condition
                                 by HPD found that condition had not been
                                 properly corrected. The violation is open
                 FALSE           and is subject to civil penalties for false
8   FALSE CERT   CERTIFICATION   certification.
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     CIV14
10   MAILED

                                                                                 OPEN


                 VIOLATION WILL    HPD will be attempting to reinspect this
11   OPEN        BE REINSPECTED    violation.

                                                                                 CLOSED
                 VIOLATION
19   DISMISSED   CLOSED            The violation has been closed.

                                                                                 OPEN



                                   The violation condition was observed
                                   corrected by the Department. However,
                                   documentation required to close the
     DEFECT      DEFECT LETTER     violation has not yet been received and
20   LETTER      ISSUED            the violation remains open.

                                                                                 OPEN
                                   A reinspection of the violation found that
     NOT         NOT COMPLIED      the condition still exists as of the status
21   COMPLIED    WITH              date.

                                                                                 OPEN


                 FIRST NO ACCESS   HPD attempted to reinspect the violation
     1 NO        TO RE- INSPECT    but there was no access. The violation
22   ACCESS      VIOLATION         remains open.

                                                                                 OPEN

                 SECOND NO
                 ACCESS TO RE-     HPD made a second attempt to reinspect
     2 NO        INSPECT           the violation but there was no access.
23   ACCESS      VIOLATION         The violation remains open.

                                                                                 OPEN
                 VIOLATION         The violation was returned to open status
24   OPEN        REOPEN            from closed.
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                                                                                                        OPEN


                                                           Info NOVs are notice that an order has
                                                           been issued by the Department. These
                                                           orders do not have associated
                                                           certification or correction dates and are
                                                           used to serve notice upon current and
              INFO NOV           INFO NOV SENT             future owners regarding open agency
       27     SENT               OUT                       Orders.

                                                                                                        OPEN


                                                           A certification has been submitted but
              CERT               INVALID                   was not acceptable due to a defect in the
       28     INVALID            CERTIFICATION             certification documentation.

                                                                                                        OPEN

                                                           This status applies only to window guard
                                                           violations. An inspection resulted in a
                                                           finding that some window guards had
                                                           been installed, but that there was no
              PARTIAL            COMPLIED IN               access to confirm installation in all
       36     ACCESS             ACCESS AREA               windows.




CurrentStatusDate
Date when the current status went into effect

NovType
Original/Reissued Notice of Violation.

Violation Status
Status of Violation

Latitude/Longitude
Latitude and longitude specify the location of the property on the earth's surface. The coordinates provided are an
estimate of the location based on the street segment and address range.

Community Board
Community Board indicates the New York City Community District where the building is located

Council District
Council District indicates the New York City Council District where the building is located

CensusTract
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Census Tract indicates the 2010 U.S. Census Tract where the building is located.

BIN
The BIN (Building Identification Number) is a unique identifier for each building in the City.

BBL
BBL is a unique identifier for each tax lot in the city.

NTA
Neighborhood Tabulation Area indicates the New York City Neighborhood Tabulation Area where the building is
located.
